






Opinion issued June 6, 2002










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00424-CV

____________


J.R. WINGS, INC. AND WINGS, ETC., INC.,  Appellants


V.


JOSEPH P. EGUIA AND CJ INVESTMENTS, INC.,  Appellees






On Appeal from the 269th District Court

Harris County, Texas

Trial Court Cause No. 2002-09937






O P I N I O N

	Appellants have filed a motion to dismiss their appeal.  More than 10 days have
elapsed, and no objection has been filed.  No opinion has issued. Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(2).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Jennings, and Price. (1)

Do not publish. Tex. R. App. P. 47.

1.    The Honorable Frank C. Price, former Justice, Court of Appeals, First
District of Texas at Houston, participating by assignment.

